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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA               :
                                       :            Criminal No.: 21-CR-129 (ABJ)
             v.                        :
                                       :
GABRIEL AUGUSTIN GARCIA,               :
also known as “Gabriel Agustin Garcia, :
                                       :
             Defendant.                :
                                       :

                                NOTICE OF APPEARANCE

       The United States of America by and through its attorney, the United States Attorney for

the District of Columbia, hereby informs the Court that the government will also be represented

in the above-captioned matter by AUSA Jason McCullough.



                                            Respectfully Submitted,

                                            MATTHEW M. GRAVES
                                            United States Attorney
                                            D.C. Bar No. 481052

                                     By:     Jason McCullough
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